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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                     Holding a Criminal Term

                            Grand Jury Sworn in on July 9,2018

UNITED STATES OF AMERICA                            CRIMINAL NO。 19-CR-00166(DLF)

                V.                                  VIOLAT10NS:
                                                    18 UoS.C.§ 1201(a)(1)
PIIARCEL VINES,                                     (Kidnapping Resulting in Death)
also known as“ BY"and“ Baby Boy,''                  18 UoS.C.§ 1201(c)
ⅣIALIQUE      LEWIS,                                (COnSpiracy to Commit Kidnapping)
also k■ own   as“ Freak,''and                       18 UoS.C.§ 2
ASHTON BRISCOE,                                     (Aiding and Abetting)
also known as“ A2"and“ Astro,''                     18 UoS.C.§ 922(g)(1)
                                                    (UnlaWful Possession of a Firearm and
                       Defendants.                  Anllllunition by a Person Convicted of a
                                                    CriIIle Punishable by lmprisonment for a
                                                    Term Exceeding One Year)
                                                    22 DoCo Code§ §2001 and 4502(2001 ed。 )
                                                    (Kidnapping While Armed)
                                                    22 DoC.Code 4504(b)(2001 ed。   )

                                                    (POSSessiOn of a Firearm During Crime of
                                                    Violence or Dangerous Offense)
                                                    22 DoCo Code§ §2101,4502,2104.01(b)(1)
                                                    (2001 ed。   )

                                                    (First Degree Murder While Armed一
                                                    Felony ⅣIurder(Aggravating
                                                    Circumstances))
                                                    22 DoCo Code§ §2101,4502,2104.01(b)(1)
                                                    (2001 ed。   )

                                                    (First Degree Murder While Armed
                                                    (Premeditated)(Aggravating
                                                    Circumstances))
                                                    22 DoCo Code§ 1805(2001 ed。 )
                                                    (Aiding and Abetting)

                                       INDICTMENT

       The Grand Jury charges that:
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                                             COUNT ONE

        On or about December 28,2077, within the District of Columbia, the State of Maryland,

and elsewhere, MARCEL VINES, also known as                "BY" and "Baby Boy," MALIQUE LEWIS,

also known as "Freak," and ASHTON BRISCOE, also known as "A2" and "Astro," the

defendants, did unlawfully and   willfully   seize, confine, inveigle, decoy, kidnap, abduct, and carry

away and hold Armani Coles for ransom and reward and otherwise, and, in committing or in

furtherance of the commission of the offense, did          willfully transport in interstate    commerce

Armani Coles, did travel in interstate commerce between the District of Columbia and the State of

Maryland, and did use a means, facility, and instrumentality of interstate commerce, and did aid,

abet, counsel, command, induce and cause another to commit said offense, and Armani Coles died

as a result of the offense.

        (Kidnapping Resulting in Death and Aiding and Abetting, in violation of Title                18,
        United States Code, Section 1201(aX1) and Section 2)

                                             COUNT TWO

        On or about December 28,2077, within the District of Columbia, the State of Maryland,

and elsewhere,   MARCEL VINES, also known            as   "BY"   and "Baby   Boy," MALIQUE LEWIS,

also known as "Freak," and ASHTON BRISCOE, also known as "A2" and "Astro," the

defendants, did unlawfully and   willfully   seize, confine, inveigle, decoy, kidnap, abduct, and carry

away and hold Kerrice Lewis for ransom and reward and otherwise, and, in committing or in

furtherance of the commission of the offense, did           willfully transport in interstate   commerce

Kerrice Lewis, did travel in interstate commerce between the District of Columbia and the State

of Maryland, and did use a means, facility, and instrumentality of interstate commerce, and did
                                                     つ４
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aid, abet, counsel, command, induce and cause another to commit said offense, and Kerrice Lewis

died as a result of the offense.

        (Kidnapping Resulting in Death and Aiding and Abetting, in violation of Title                  18,
        United States Code, Section 1201(a)(1) and Section 2)

                                        COUNT THRE,E

        On or about December 28,2017, within the District of Columbia, the State of Maryland,

and elsewhere, MARCEL VINES, also known as           "BY" and "Baby Boy," MALIQUE LEWIS,

also known as "Freak," and ASHTON BRISCOE, also known as "A2" and "Astro," the

defendants, and others known and unknown,        willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to violate   Title   18,   United States Code, Section

l20l (a)(1).

        The purpose of the conspiracy was to retaliate against an individual known to the grand

jury @ereinafter "lndividual 1"), and those believed to be associated with Individual 1, for

murdering Ronzay Green. The conspirators and Ronzay Green associated together, and with

others known and unknown, in the neighborhood of Clay Terrace in the Northeast quadrant of the

District of Columbia. The conspirators identified Individual 1, who was from the area of First

and Kennedy Streets in the Northwest quadrant of the District of Columbia, as responsible for the

murder of Ronzay Green. The conspirators further identified Armani Coles and Kerrice Lewis as

friends of Individual 1, and as associating with each other and others known and unknown, in the

area of First and Kennedy Streets in the Northwest quadrant of the       District of Columbia.




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                                            Overt Acts

       In furtherance of the conspiracy and to effect the illegal object thereof, the following overt

acts, among others, were corlmitted in the District of Columbia, the State of Maryland, and

elsewhere:

       l.      On or about December 28,2017, MARCEL VINES, also known as                  "BY"   and

"Baby Boy," while observing the mortally-shot Ronzay Green lying on the ground outside 950

Eastern Avenue in the Northeast quadrant of the District       of Columbia, contacted ASHTON

BRISCOE, also known as"A2" and "Astro," using a telecommunications facility, that is a cellular

telephone, and informed ASHTON BRISCOE also known as".A2" and "Astro," that their friend,

Ronzay Green, had been shot.

       2.      On or about December 28, 2011, MARCEL VINES, also known as                 "BY"   and

"Baby Boy," and ASHTON BRISCOE, also known as "A2" and "Astro," aftsr learning that

Ronzay Green had been shot, began communicating with MALIQUE LEWIS, also known                    as


"Freak," using a telecommunications facility, that is a cellular telephone.

       3.      On or about December 28,2017, MARCEL VINES, also known as "BY" and

"Baby Boy," traveled from 950 Eastem Avenue in the Northeast quadrant of the District of

Columbia to Prince George's County Hospital in the State of Maryland, where Ronzay Green was

transported for treatment.

       4.       On or about December 28,2077, MALIQUE LEWIS, also known as "Freak,"

traveled from the District   of Columbia to Prince George's County Hospital in the State of
Maryland, where Ronzay Green was transported for treatment.




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       5.        On or about December 28, 2017, MARCEL VINES, also known as "BY" and

"Baby Boy," and MALIQUE LEWIS, also known as "Freak," while at Prince George's County

Hospital in the State of Maryland, after leaming that Ronzay Green died, stated that someone

would have to pay, or words to that effect.

       6.        On or about December 28,2017, MARCEL VINES, also known as              "BY"     and

"Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON BRISCOE, also known

as"A2" and "Astro," the defendants, and others known and unknown, undertook efforts to locate

and target Individual 1, Armani Coles, and Kerrice Lewis by traveling between the State           of

Maryland, the Clay Terrace neighborhood in the Northeast quadrant of the District of Columbia,

and the First and Kennedy Streets neighborhood in the Northwest quadrant of the District          of

Columbia, where Individual 1, Armani Coles, and Kerrice Lewis were known to frequent.

       7   .     On or about December 28,2077, in the District of Columbia, the State of Maryland,

and elsewhere,   MARCEL VINES, also known         as   "BY"   and "Baby   Boy," MALIQUE LEWIS,

also known as "Freak," and ASHTON BRISCOE, also known as                     "A2" and "Astro,"   the

defendants, and others known and unknown, undertook efforts to locate and target Individual 1,

Armani Coles, and Kerrice Lewis, which included the use of telecommunications facilities, that is

cellular telephones, to communicate with and among each other.

       8.        On or about December 28,2017, in the District of Columbia, MARCEL VINES,

also known as     "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak,"                     and

ASHTON BRISCOE, also known as ".L2" and "Astro," the defendants, and others known and

unknown, seized, confined, inveigled, kidnapped, abducted, and carried away Armani Coles.




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       9.        On or about December 28,2017, in the District of Columbia, MARCEL VINES,

also known as     "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak,"                  and

ASHTON BRISCOE, also known as o'A2" and "Astro," the defendants, and others known and

unknown, seized, confined, inveigled, kidnapped, abducted, and carried away Kerrice Lewis.

        10.      On or about December 28,2077, MARCEL VINES, also known as "BY" and

"Baby Boy," and MALIQUE LEWIS, also known as "Freak," and others known and unknown,

transported Armani Coles and Kerrice Lewis from the District        of Columbia to the State of
Maryland using Kerrice Lewis' vehicle.

        1   1.   On or about December 28, 2017 , ASHTON BRISCOE, also known as "A2" and

"Astro," drove Armani Coles' vehicle from the neighborhood in the Northwest quadrant of the

District of Columbia, where Individual 1, Armani Coles, and Kerrice Lewis were known to

frequent, through the State of Maryland, to the Clay Terrace neighborhood located in the Northeast

quadrant of the District of Columbia.

        12.      On or about December 28,2077, in the State of Maryland, MARCEL VINES, also

known as "BY" and "Baby Boy," and MALIQUE LEWIS, also known as "Freak," and others

known and unknown, while traveling between the District of Columbia and the State of Maryland

in Kerrice Lewis' vehicle, and while armed with firearms, shot Armani Coles and discarded

Armani Coles' body on the side of Interstate 295 in the State of Maryland.

       13.       On or about December 28,2017, MARCEL VINES, also known as "BY" and

"Baby Boy," and MALIQUE LEWIS, also known as "Freak," and others known and unknown,

fled the location in the State of Maryland where they discarded Armani Coles' body and traveled

into the District of Columbia.


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            14.   On or about December 28,2017, in the District of Columbia, the State of Maryland,

and elsewhere, MARCEL VINES, also known as             "BY"   and "Baby   Boy," MALIQUE LEWIS,

also known as "Freak," and ASHTON BRISCOE, also known as                    "A2" and "Astro,"      the

defendants, and others known and unknown, used a telecommunications facility, that is a cellular

telephone, to communicate with one another to arrange, coordinate, and facilitate the murder        of
Kerrice Lewis.

           15.    On or about December 28,2017, MARCEL VINES, also known as              "BY"      and

"Baby Boy," MALIQUE LEWIS, also known            as   "Freak," and ASHTON BRISCOE, also known

as   "A2"   and "Astro," the defendants, and others known and unknown, traveled to the rear   of   815

Adrian Street in the Southeast quadrant of the District of Columbia.

           16.    On or about December 28,2017, in the District of Columbia, MARCEL VINES,

also known as      "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak,"                      and

ASHTON BRISCOE, also known as "A2" and "Astro," the defendants, and others known and

unknown, while in the rear of 815 Adrian Street in the Southeast quadrant of the District of

Columbia, and while armed with firearms, shot and killed Kerrice Lewis while she was inside her

vehicle, set Kerrice Lewis' vehicle and body on fire, and fled the location in Armani Coles'

vehicle.

           17.    On or about December 28,2017, MALIQUE LEWIS, also known as "Freak,"

using a telecommunications facility, that is a cellular telephone, did send a text message to an

associate of Ronzay Green that contained a screen-shot photograph of a news article reporting the

police investigation into the death of an individual later leamed to be Armani Coles.




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        18.      On or about December 28,2017, MALIQUE LEWIS, also known as "Freak,"

using a telecommunications facility, that is a cellular telephone, did send a text message to the

same associate    of Ronzay Green that contained a screen-shot         photograph   of a news article
reporting the police investigation into the death of an individual later leamed to be Kerrice Lewis.

       19.       On or about, December 28,2017, MALIQUE LEWIS, also known as "Freak,"

using a telecommunications facility, that is a cellular telephone, did send a text message to the

same associate of Ronzay Green that said "we aint dead," which was followed by a text message

that stated "Done*".

       (Conspiracy to Commit Kidnapping, in violation of Title 18, United States Code, Section
       1201(c))
                                   COUNT FOUR

       On or about December 28,2017, within the District of Columbia, the State of Maryland,

and elsewhere,   MARCEL VINES, also known          as   "BY"   and "Baby Boy," having been convicted

of a crime punishable by imprisonment for   a   term exceeding one year in the Superior Court for the

District of Columbia, Criminal Case Numbers 2015-CF2-015181 and 2015-CF2-003658, and

having knowledge of that fact, did unlawfully and knowingly receive and possess a flrearm and

ammunition, which had been possessed, shipped and transported in and affecting interstate and

foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(g(l))

                                         COUNT FIVE

       On or about December 28,2017, within the District of Columbia, the State of Maryland,

and elsewhere,   MALIQUE LEWIS, also known as "Freak," having been convicted of a crime
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punishable by imprisonment for a term exceeding one year in the Superior Court for the District

of Columbia, Criminal Case Number 2016-CF2-011824, and having knowledge of that fact, did

unlawfully and knowingly receive and possess a firearm and ammunition, which had been

possessed, shipped and transported in and affecting interstate and foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(9)(1))

                                          COUNT SIX

       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as"A2" and "Astro," the defendants, while armed with a firearm, seized,

confined, inveigled, decoyed, kidnapped, abducted, and carried away Armani Coles, with intent to

hold and detain Armani Coles, for ransom and reward and otherwise, and did aid and abet another

in the commission of said offense.

       (Kidnapping While Armed and Aiding and Abetting, in violation of Title 22,District
       of Columbia Code, Sections 2001, 4502, and 1 805 (2001 ed.))

                                        COUNT SEVEN

       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as "A2" and "Astro," the defendants, did possess a firearm while

committing the crime of Kidnapping While Armed as set forth in the sixth count of this indictment.

                      Firearm During Crime of Violence or Dangerous Offense and
       (Possession of a
       Aiding and Abetting, in violation of Title 22,District of Columbia Code, Sections
       4s04(b) and 1805 (2001 ed.))



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                                        COTJNT EIGHT

       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as"A2" and "Astro," the defendants, while armed with          a   firearm, seized,

confined, inveigled, decoyed, kidnapped, abducted, and carried away Kerrice Lewis, with intent

to hold and detain Kerrice Lewis, for ransom and reward and otherwise, and did aid and abet

another in the commission of said offense.

       (Kidnapping While Armed and Aiding and Abetting, in violation of Title 22,District
       of Columbia Code, Sections 2001, 4502, and 1805 (2001 ed.))

                                         COUNT NINE

       On or about December 28,2077, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as "A2" and "Astro," the defendants, did possess a firearm while

committing the crime of Kidnapping While Armed as set forth in the eighth count of this

indictment.

      (Possession of a Firearm During Crime of Violence or Dangerous Offense and Aiding
      and Abetting, in violation of Title 22, District of Columbia Code, Sections 4504(b) and
      1805 (2001 ed.))

                                          COUNT TEN

       MARCEL VINES, also known as "BY" and "Baby Boy," MALIQUE LEWIS,                           also

known as "Freak," and ASHTON BRISCOE, also known as "A2" and "Astro," the defendants,

within the District of Columbia, while armed with a hrearm, in perpetrating and attempting to

perpetrate the crime of Kidnapping While Armed, as set forth in the sixth count of this indictment,

killed Armani Coles by shooting Armani Coles with a firearm on or about December 28, 2017,

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thereby causing injuries from which Armani Coles died on or about December 28,2017, and did

aid and abet another in the commission of said offense.

        The Grand  Juryfurther charges that the murder was committed in the course of kidnapping
        or abduction, or an attempt to kidnap or abduct.

       (First Degree Murder While Armed-Felony Murder (Aggravating Circumstances)
       and Aiding and Abetting, in violation of Title 22, District of Columbia Code, Sections
        2707, 4502,2104.01(b)(1), and 1805 (2001 ed.))

                                        COUNT ELEVEN

       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as "A2" and "Astro," the defendants, did possess a firearm while

committing the crime of First Degree Murder While Armed as set for in the tenth count of this

indictment.

       (Possession of aFirearm During Crime of Violence or Dangerous Offense and Aiding
       and Abetting, in violation of Title 22,Distrrct of Columbia Code, Sections a50a@) and
        180s (2001 ed.))

                                       COUNT TWELVE

       MARCEL VINES, also known as "BY" and "Baby Boy," MALIQUE LEWIS,                          also

known as "Freak," and ASHTON BRISCOE, also known as"A2" and "Astro," the defendants,

within the District of Columbia, while armed with a firearm, in perpetrating and attempting to

perpetrate the crime of Kidnapping While Armed, as set forth in the eighth count of this indictment,

killed Kerrice Lewis by shooting Kerrice Lewis with    a   firearm on or about December 28,2017,
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thereby causing injuries from which Kerrice Lewis died on or about December 28,2017 , and did

aid and abet another in the commission of said offense.

       The Grand Juryfurther charges that the murder was committed in the course of kidnapping
       or abduction, or an attempt to kidnap or abduct.

       (First Degree Murder While Armed-Felony Murder (Aggravating Circumstances)
       and Aiding and Abetting, in violation of Title 22, Distict of Columbia Code, Sections
       2707, 4502,2104.01(b)(1), and 1805 (2001 ed.))

                                     COUNT THIRTEEN
       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as "A2" and "Astro," the defendants, did possess a firearm while

committing the crime of First Degree Murder While Armed as set forth in the twelfth count of this

indictment.

       (Possession of aFirearm During Crime of Violence or Dangerous Offense and Aiding
       and Abetting, in violation of Title 22,District of Columbia Code, Sections 4504(b) and
       180s (2001 ed.))

                                    COUNT FOURTEEN

       MARCEL VINES, also known as "BY" and "Baby Boy," MALIQUE LEWIS,                       also

known as "Freak," and ASHTON BRISCOE, also known as"A2" and "Astro," the defendants,

within the District of Columbia, while armed with a firearm, purposely and with deliberate and

premeditated malice, killed Kerrice Lewis by shooting Kerrice Lewis with a firearm on or about




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December 28,2017, thereby causing injuries from which Kerrice Lewis died on or about December

28,2017, and did aid and abet another in the commission of said offense.

        The Grand Juryfurther charges that the murder was committed in the course of kidnapping
        or abduction, or an attempt to kidnap or abduct.

        (First Degree Murder While Armed (Premeditated) (Aggravating Circumstances)
        and Aiding and Abetting, in violation of Title 22, District of Columbia Code, Sections
        2101, 4502,2104.01(b)(1), and 1805 (2001 ed.))

                                     COUNT FIFTEEN

       On or about December 28,2017, within the District of Columbia, MARCEL VINES, also

known as "BY" and "Baby Boy," MALIQUE LEWIS, also known as "Freak," and ASHTON

BRISCOE, also known as "A2" and "Astro," the defendants, did possess a firearm while

committing the crime of First Degree Murder While Armed as set forth in the fourteenth count   of
this indictment.

       (Possession of aFirearm During Crime of Violence or Dangerous Offense and Aiding
       and Abetting, in violation of Title 22, District of Columbia Code, Sections 4504(b) and
        180s (2001 ed.))

                                            A TRUE BILL:


                                            FOREPERSON.

 Sa:o K Lr^ O
Attorney of the United States in
and for the District of Columbia.




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